                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                             CASE NO. 5:19-CV-158-DCK

 CHRISTOPHER WAGNER,                                  )
                                                      )
                 Plaintiff,                           )
                                                      )
    v.                                                )       ORDER
                                                      )
 KILOLO KIJAKAZI,                                     )
 Acting Commissioner of Social Security,              )
                                                      )
                 Defendant.                           )
                                                      )

         THIS MATTER IS BEFORE THE COURT on “Plaintiff’s Motion For Attorney Fees

Under § 406(b) Of The Social Security Act” (Document No. 14) filed July 16, 2021. The parties

have consented to Magistrate Judge jurisdiction pursuant to 28 U.S.C. § 636(c), and immediate

review is appropriate. Having carefully considered the motion and the record, the undersigned

will grant the motion.

         By the instant motion, Plaintiff’s counsel (the “Movant”) seeks an award of attorney fees

pursuant to 42 U.S.C. §§ 206(B) and 406(b) in the amount of $10,825.75. (Document No. 15, p.

1). Movant notes that “[t]his represents less than 25% of the back benefits awarded to Plaintiff by

the Social Security Administration.” Id. (citing Document No. 15-1, p. 4). Movant also argues

that the fees sought are reasonable, noting that Plaintiff has been “awarded over $67,000 in back

benefits as well as ongoing benefits.” (Document No. 15, p. 2) (citing Mudd v. Barnhart, 418 F.3d

424, 428 (4th Cir. 2005) and (Document No. 15-1)).

         “Defendant’s Response…” states that it “neither supports nor opposes counsel’s request

for attorney’s fees.” (Document No. 16, p. 1). Defendant acknowledges that the Commissioner

“generally withholds 25% of past-due benefits owed to a claimant to pay potential attorney’s fees,




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and an attorney may receive up to 25% of the past-due benefits.” Id. Defendant notes that it is for

the Court to decide if the request for fees is “reasonable.” (Document No. 16, p. 2).

       Based on the parties’ briefs and applicable legal authority, the undersigned will allow

Movant’s request.

       IT IS, THEREFORE, ORDERED that “Plaintiff’s Motion For Attorney Fees Under §

406(b) Of The Social Security Act” (Document No. 14) is GRANTED.

       IT IS FURTHER ORDERED that the Commissioner of Social Security shall pay

Plaintiff’s counsel, Charlotte W. Hall, the sum of $10,825.75, sent to her office at P.O. Box 58129,

Raleigh, North Carolina 27658. Upon receipt of such payment, Ms. Hall shall refund to Plaintiff

Christopher Wagner the EAJA fee award of $4,350.00. See (Document No. 14).

       SO ORDERED.


                               Signed: September 22, 2021




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